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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)              )             MDL No. 2592
PRODUCTS LIABILITY LITIGATION             )
                                          )             SECTION: L
                                          )
                                          )
                                          )             JUDGE FALLON
                                          )             MAG. JUDGE NORTH
                                          )
                                          )             RESPONSE TO FIRST
                                          )             SUPPLEMENTAL ORDER
                                          )             REGARDING OCTOBER 7, 2019
                                          )             SHOW CAUSE HEARING
                                          )             SCHEDULED IN REC. DOC.
                                          )             16218 REGARDING CMO 12A
                                          )             NON-COMPLIANCE
                                          )             [SUPPLEMENTAL
                                          )             PLAINTIFFS]
__________________________________________)


THIS DOCUMENT RELATES TO:

Thyeasia Pugh v. Janssen Research &
Development LLC, et al; No. 2:16-cv-05657

Juanita Teeple v. Janssen Research &
Development LLC, et al; No. 2:18-cv-02780

Amanda Strasser v. Janssen Research &
Development LLC, et al; No. 2:16-cv-13576

Elaine Rosenberg v. Janssen Research &
Development LLC, et al; No. 2:16-cv-10813



      COMES NOW Counsel for Plaintiffs in the above matter, and files this Response to the

First Supplemental Order Regarding October 7, 2019 Show Cause Hearing Scheduled in Rec.




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Doc. 16218 Regarding CMO 12A Non-Compliance [Supplemental Plaintiffs] (Rec. Doc.

168675) entered by the Court on October 2, 2019.

                                                 I.

       This Court has entered an Order to Show Cause for Plaintiffs who have not complied

with CMO 12A requiring Plaintiffs to show cause why their cases should not be dismissed with

prejudice for failing to comply with this Court’s Order.

       Case Management Order 12A required that for Plaintiffs who failed to submit a complete

and fully executed Enrollment Election form by August 5, 2019, they must file and serve a

completed Notice of Intent to Proceed through MDL Centrality on or before August 19, 2019.

       The cases at issue involve Plaintiffs who had expressed their desire to Plaintiffs’ counsel

of their intent to enroll in the settlement program, but who did not return an executed Notice of

Intent to Proceed by the Court’s August 19, 2019 deadline for filing with MDL Centrality.

       The cases at issue were further granted an extension of time by the Claims Administrator

within which to timely enroll their cases in the Xarelto Settlement Program, up to and including,

September 4, 2019.

                                                      II.

       On September 4, 2019 while Plaintiffs’ counsel was actively enrolling additional

Plaintiffs in the settlement program, counsel reached out to the Claims Administrator and the

PSC for guidance about certain individuals for whom more time was needed to provide executed

enrollment package documents, and counsel was informed that extensions would likely not be

granted, so we should submit what we had at that time, and expect a deficiency notice from the

Claims Administrator, and we would then be able to cure the within the timeframe specified on

the deficiency notice. (See Attached Exhibit “A”).



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       Additionally, we reached out to the PSC regarding the Thyeasia Pugh case in particular

(Plaintiff ID 12218) in that Ms. Pugh was impacted by Hurricane Dorian and was forced to

evacuate and was unable to return her signed enrollment form. Plaintiff’s counsel was advised to

submit the enrollment form on behalf of Ms. Pugh with the attorney’s signature on the

enrollment form and missing the client’s signature, and expect to receive a deficiency notice,

which we would then have twenty-one days to cure. Counsel therefore uploaded an enrollment

election form on behalf of Ms. Pugh signed by counsel indicating Ms. Pugh’s election to enroll,

but was also granted a Hurricane extension request. (See attached Exhibit “B”).

       Following this general guidance that it may possible to timely submit an enrollment form

executed by Plaintiff’s counsel without a client signature, counsel uploaded Enrollment Election

forms indicating Plaintiffs’ election to enroll in the Settlement Program for the following

Plaintiffs on September 4, 2019:

       Juanita Teeple v. Janssen Research &
       Development LLC, et al; No. 2:18-cv-02780

       Amanda Strasser v. Janssen Research &
       Development LLC, et al; No. 2:16-cv-13576

       Elaine Rosenberg v. Janssen Research &
       Development LLC, et al; No. 2:16-cv-10813

                                                     III.

       Counsel for Plaintiffs would respectfully show the Court that on September 17, 2019, the

Claims Administrator generated a deficiency notice in the Thyesia Pugh matter, confirming the

fact that Ms. Pugh had not signed the enrollment election form or submitted an executed Release

(See attached Exhibit “C”) and giving Plaintiff until October 8, 2019 to respond. Plaintiff timely

responded on September 23, 2019 and provided a fully completed Enrollment Election Form and

executed Release. (See attached Exhibit “D”). Therefore, Plaintiff contends that she is in

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compliance, has cured any deficiencies and is enrolled in the Settlement Program and that

attendance is not required at the Court’s show cause hearing on October 7, 2019.

       Given the above and foregoing, Plaintiff respectfully requests that she be excused from

attendance at the Show Cause hearing, that her case not be dismissed with prejudice and that her

case be allowed to proceed in the Settlement Program.

                                               IV.

       As for the Juanita Teeple matter, Ms. Teeple also expressed her intent to enroll but did

not return her executed Notice of Intent to Proceed indicating same until August 27, 2019, after

the Court’s deadline of August 19, 2019. However, given that Plaintiff’s counsel timely uploaded

an Enrollment Form to the Claims Administrator indicating her intend to enroll in the Settlement

Program on September 4, 2019, Plaintiff’s counsel did not upload the Notice of Intent to Enroll

as he believed that enrollment in the Settlement Program had been effectuated.

       The Claims Administrator issued a Notice of Incomplete Enrollment Package, as

expected, establishing a deadline of October 8, 2019 within which to provide a signed

Enrollment Election Form and executed Release. (See attached Exhibit “E”).

       Counsel has been diligently working on obtaining the signed documents from Ms.

Teeple. Ms. Teeple is 85 years old and lives in a nursing home in West Plains, Missouri at West

Vue Nursing & Rehab Center. As a result, Ms. Teeple’s son, Rick, had been facilitating

communication and efforts to obtain the signed enrollment documents from Ms. Teeple.

However, Mr. Teeple has not responded to our recent efforts to communicate with him and his

phone number is no longer in working order. As a result, counsel contacted the nursing home

directly on October 3, 2019, upon receipt of the Court’s Supplemental Order, and explained the

urgent nature of our attempts to obtain the executed Enrollment form and Release. Counsel sent



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the enrollment package documents by overnight delivery to Ms. Teeple and the nursing home

staff is diligently working to facilitate the execution of the Enrollment Election form and Release

by Ms. Teeple as quickly as possible.

       In the meantime, counsel has now uploaded Ms. Teeple’s Notice of Intent to Proceed to

comply with CMO12A. (See Exhibit “F” attached) and contends that she is in compliance.

                                                 V.

       As to the claims for Amanda Strasser and Elaine Rosenberg, Notices of Incomplete

Enrollment Package have been issued by the Claims Administrator and Plaintiffs have a deadline

of October 8, 2019 to respond. (See Exhibit “G” attached). Plaintiffs’ counsel continues to work

diligently to secure the missing Enrollment Election form signatures and executed Releases that

are required to participate in the Settlement Program.

       To the extent that Plaintiffs fail to timely upload their executed enrollment package

documents, counsel for Plaintiffs certainly has no basis to object to a dismissal of these cases

with prejudice.

                                                VI.

       Counsel would respectfully show that he was not aware that these Plaintiffs were in

violation of this Court’s Order until he received the Court’s Supplemental Order (Rec. No.

16875) on October 3, 2019 identifying supplemental Plaintiffs who are not in compliance.

       Further, Plaintiffs’ counsel would show the Court that he inadvertently overlooked the

language in the Court’s order that required “a complete and fully executed Enrollment Election

Form” be submitted to MDL Centrality to fully comply with CMO12A. Counsel believed that

enrollment for these Plaintiffs had been effectuated and that any enrollment deficiencies could be

cured during the deficiency process.



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       Counsel did not realize until October 3, 2019 that, while the uploading of enrollment

election forms signed only by counsel was sufficient for purposes of compliance with the

enrollment deadline, that such action was not insufficient to comply with the Court’s Orders, and

such error was neither inadvertent nor intentional.

       Finally, given the close proximity to the hearing date of October 7, 2019, and given that

these claims are either enrolled in the Settlement Program, or enrolled with deficiencies, counsel

respectfully moves for relief from the Court to excuse the attendance of these Plaintiffs from the

Show Cause hearing on October 7, 2019.

       WHEREFORE, PREMISES CONSIDERED, Counsel for Plaintiff respectfully requests

that the above matters be allowed to proceed through and participate in the Settlement Program

and that the Thyeasia Pugh matter be deemed enrolled in the Settlement Program and in

compliance with the Court’s Orders. Further, with respect to the Juanita Teeple matter, Plaintiff

requests that she be given the opportunity to cure the enrollment package deficiencies consistent

with the Claims Administrator’s Notice of Incomplete Enrollment Package, that she be excused

from appearing at the Show Cause Hearing on October 7, 2019 due to her advanced age and

inability to travel and the fact that her claim is enrolled in the Settlement Program. Finally,

Plaintiffs in the Amanda Strasser and Elaine Rosenberg matters request that they be given the

opportunity to cure the enrollment package deficiencies consistent with the Claims

Administrator’s Notice of Incomplete Enrollment Package and that they be excused from

appearing at the Show Cause Hearing on October 7, 2019 in that their claims are enrolled in the

Settlement Program.

Dated: October 4, 2019.




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                                             Respectfully submitted,


                                             s/ Michael T. Gallagher
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing Response has contemporaneously
with or before filing been served on all parties or their attorneys in a manner authorized by FRCP
5(b)(2), Local Rule 5.1 of the Eastern District of Louisiana and via MDL Centrality, which will
send notice of electronic filing in accordance with the procedures established in MDL 2592
pursuant to Pre-Trial Order No. 17.


                                             s/ Michael T. Gallagher
                                             Michael T. Gallagher




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